             Case 1:21-cr-00403-RC Document 40-1 Filed 01/31/22 Page 1 of 1



Dear, Honorable Rudolph Contreras



Hello my name is Julio Prado I am Nicole’s younger brother and I have been a paraplegic since 8 years
old. I have known Nicole to be very caring when it comes to her family and animals. She treats Klaus her
dog as like her son.

She has helped me in various occasions mentally with my depression, as well as physically as I could not
always move or accomplish normal physical tasks as I can now. Before I became more independent as I
am now I could not do a lot of things such as transfer out of bed, dress myself or go to the bathroom by
myself. Nicole has helped me during numerous occasions to complete these physical tasks as my mom
was always at work.

Nicole cares for her children I have always seen her caring for or smiling when she is with her children. I
am not a very talkative person but she would always call me to walk about what has happened during
that week and she would always try and find a date in which we are both free and she could come over
to visit me.

I have always seen Nicole as a diligent, hard working and caring sister. I don’t believe Nicole is the type
of person to intentionally commit an illegal act and I know that she truly regrets her decision to enter
the Capitol, even though she did not commit any violence or damage any property inside.



Sincerely,

Julio Prado



                                  1/15/2022



 X
 Julio A Prado

 Signed by: bb72a7bc-03f4-4a9c-9ff2-406d0a248ded
